DOCUMENTS UNDER SEAL
                    Case 4:19-cr-00043-YGR Clear
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                                                 Form 127 Filed 07/02/19 Page 1 of17
                                                           TOTAL TIME (m ins):
                                                                                   1 mins
M AGISTRATE JUDGE                          DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                             Doug Merry                               10:52-11:09
MAGISTRATE JUDGE                           DATE                                     NEW CASE         CASE NUMBER
KANDIS A. WESTMORE                        July 2, 2019                                             4:19-cr-00043 -YGR-7
                                                       APPEARANCES
DEFENDANT                                  AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                 PD.     RET.
CAMERON MOORE-WILLIAMS                               N       P       Julia Jayne/Ashley Riser            APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT            COUNSEL APPT'D
Maureen Bessette for Frank Riebli                                                 SUBMITTED

PROBATION OFFICER          PRETRIAL SERVICES OFFICER                 DEF ELIGIBLE FOR            PARTIAL PAYMENT
                            Victoria Gibson                          APPT'D COUNSEL              OF CJA FEES
                                         PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR               PRELIM HRG       MOTION           JUGM'T & SENTG                       STATUS
                                                                                                           TRIAL SET
       I.D. COUNSEL                 ARRAIGNMENT            BOND HEARING            IA REV PROB. or         OTHER
                                                          /Bail Review Hrg         or S/R
       DETENTION HRG                ID / REMOV HRG         CHANGE PLEA             PROB. REVOC.            ATTY APPT
                                                                                                           HEARING
                                                     INITIAL APPEARANCE
        ADVISED                ADVISED                    NAME AS CHARGED             TRUE NAME:
        OF RIGHTS              OF CHARGES                 IS TRUE NAME
                                                         ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON             READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT               SUBSTANCE
                                                         RELEASE
      RELEASED          ISSUED                       AMT OF SECURITY         SPECIAL NOTES             PASSPORT
      ON O/R            APPEARANCE BOND              $                                                 SURRENDERED
                                                                                                       DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED           RELEASED       DETENTION HEARING           REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS         TO CUSTODY
      DETENTION       REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
   CONSENT                     NOT GUILTY                  GUILTY                    GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                 CHANGE OF PLEA              PLEA AGREEMENT            OTHER:
   REPORT ORDERED                                          FILED
                                                         CONTINUANCE
TO:                              ATTY APPT                  BOND                  STATUS RE:
                                 HEARING                    HEARING               CONSENT                TRIAL SET

AT:                              SUBMIT FINAN.              PRELIMINARY           CHANGE OF              STATUS
                                 AFFIDAVIT                  HEARING               PLEA
                                                            _____________
BEFORE HON.                      DETENTION                  ARRAIGNMENT            MOTIONS               JUDGMENT &
                                 HEARING                                                                 SENTENCING

       TIME W AIVED              TIME EXCLUDABLE            IDENTITY /            PRETRIAL               PROB/SUP REV.
                                 UNDER 18 § USC             REMOVAL               CONFERENCE             HEARING
                                 3161                       HEARING
                                                 ADDITIONAL PROCEEDINGS
Ms. Gibson indicates the Defendant's half-way house placement has been terminated. Based on the information provided by
Pretrial Services, the Defendant is remanded into custody.
cc: KAW file; Pretrial Svcs; US Marshal
                                                                                        DOCUMENT NUMBER:
